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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

MARCIA BURRELL and                      *
SHERITA BURRELL,                        *
                                        *
       Plaintiffs,                      *
                                        *
v.                                      *     CIVIL ACTION NO. 1:17-CV-503
                                        *
ANDREWS FUNERAL HOME, LLC,              *     JURY TRIAL DEMANDED
HARRIETTE ANDREWS-DOUGLAS,              *
and ANDREWS FUNERAL HOME,               *
                                        *
       Defendants.                      *

                                   COMPLAINT

       COME NOW Marcia Burrell and Sherita Burrell (hereinafter

collectively       referred   to   as   “the   Burrells”)    and   complain   as

follows against Andrews Funeral Home, LLC, Harriette Andrews-

Douglas,     and    Andrews   Funeral       Home   (hereinafter    collectively

referred to as “Andrews”):


     1. Plaintiff Marcia Burrell is an individual over the age of

       19 and a citizen of Michigan.               The amount in controversy,

       exclusive of interest and costs, between Marcia Burrell and

       each of the Defendants is in excess of $75,000.00.

     2. Plaintiff Sherita Burrell is an individual over the age of

       19 and a citizen of Michigan.               The amount in controversy,

       exclusive of interest and costs, between Sherita Burrell

       and each of the Defendants is in excess of $75,000.00.




	
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    3. Defendant Andrews Funeral Home, LLC is a limited liability

      company formed under the laws of Alabama.                     All members of

      Andrews Funeral Home, LLC are citizens of Alabama and its

      principal place of business is located in Alabama.

    4. Defendant Harriette Andrews-Douglas is an individual over

      the age of 19 and a citizen of Alabama.

    5. Defendant      Andrews    Funeral       Home   is      an    unincorporated

      association       with    its    principal      place    of     business    in

      Alabama.       All members of Andrews Funeral Home are citizens

      of Alabama.

    6. This Court has original jurisdiction pursuant to 28 U.S.C.

      § 1332 because there exists complete diversity among the

      parties and the amount in controversy, without interest and

      costs, exceeds the sum or value specified by 28 U.S.C. §

      1332.

    7. Venue is proper pursuant to 28 U.S.C. § 1391(b) because one

      or more the Defendants reside in this judicial district and

      because    a    substantial      part    of   the    events    or    omissions

      giving     rise   to     the    claims    occurred      in    this   judicial

      district.

    8. The Burrells’ father, Edward Lee Burrell, died in Alabama.

      Throughout his life, Edward Lee Burrell told his daughters

      that he wanted to be buried in Michigan.



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    9. Pursuant to Alabama law, the Burrells were vested with the

      right to control the disposition of the remains of their

      father.

    10.      The   Burrells   exercised        their    right    of    disposition

      pursuant to Alabama law.

    11.      The Burrells informed Andrews of their relationship to

      Edward Lee Burrell and informed Andrews that they wanted

      him buried in Michigan to honor his wishes.

    12.      Despite knowing that the Burrells wanted their father

      buried in Michigan, on or about November 14, 2015 Andrews

      buried Edward Lee Burrell in Jackson, Alabama.

    13.      Despite knowing that the Burrells were the biological

      children of Edward Lee Burrell, on or about November 14,

      2015   Andrews    conducted    a       funeral   that     discredited   the

      Burrells’    relationship     with      their    father    and    disgraced,

      humiliated, and shunned the Burrells.

    14.      The   actions    of    Andrews      were     negligent,      wanton,

      reckless, deliberate, and intended to inflict severe mental

      anguish and severe emotional distress on the Burrells.

    15.      As a direct and proximate result of Andrews’ actions,

      the Burrells have suffered and continue to suffer severe

      mental anguish and severe emotional distress.




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    16.      As a direct and proximate result of Andrews’ actions,

      the Burrells have to exhume, relocate, and re-bury their

      father.

    17.      As a direct and proximate result of Andrews’ actions,

      the Burrells have to relive the death of their father.


                             COUNT I - NEGLIGENCE


    18.      The Burrells adopt and incorporate each and every one

      of the above paragraphs as though fully set out herein.

    19.      Andrews was under a duty to conduct the funeral of

      Edward Lee Burrell pursuant to the Burrells’ instructions.

    20.      Andrews   was    under    a       duty   to   not   bury   Edward   Lee

      Burrell in Alabama.

    21.      Andrews was under a duty to treat the Burrells with

      dignity and respect.

    22.      Andrews breached their duty by refusing to honor the

      Burrells’ vested right to control the disposition of the

      remains of their father.

    23.      Andrews breached their duty by burying the Burrells’

      father in Alabama

    24.      Andrews breached their duty by conducting a funeral

      that   discredited      the     Burrells’       relationship      with   their

      father and disgraced, humiliated, and shunned the Burrells.




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    25.     Andrews negligently conducted the funeral of Edward

      Lee Burrell.

    26.     Andrews’ negligently handled the remains of Edward Lee

      Burrell.

    27.     As a direct and proximate result, the Burrells have

      suffered and continue to suffer severe mental anguish and

      severe emotional distress.

    28.     As a direct and proximate result, the Burrells have to

      exhume, relocate, and re-bury their father.

    29.     As a direct and proximate result, the Burrells have to

      relive the death of their father.


Therefore, Marcia Burrell and Sherita Burrell demand judgment

against Andrews Funeral Home, LLC, Harriette Andrews-Douglas,

and Andrews Funeral Home for compensatory and punitive damages

in the amount of $5,000,000.00, plus costs.


                            COUNT II - WANTONNESS


    30.     The Burrells adopt and incorporate each and every one

      of the above paragraphs as though fully set out herein.

    31.     Andrews was under a duty to conduct the funeral of

      Edward Lee Burrell pursuant to the Burrells’ instructions.

    32.     Andrews   was    under   a       duty   to   not   bury   Edward   Lee

      Burrell in Alabama.



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    33.      Andrews was under a duty to treat the Burrells with

      dignity and respect.

    34.      Andrews breached their duty by refusing to honor the

      Burrells’ vested right to control the disposition of the

      remains of their father.

    35.      Andrews breached their duty by burying the Burrells’

      father in Alabama

    36.      Andrews breached their duty by conducting a funeral

      that   discredited    the   Burrells’    relationship     with   their

      father and disgraced, humiliated, and shunned the Burrells.

    37.      Andrews wantonly conducted the funeral of Edward Lee

      Burrell.

    38.      Andrews’ wantonly handled the remains of Edward Lee

      Burrell.

    39.      As a direct and proximate result, the Burrells have

      suffered and continue to suffer severe mental anguish and

      severe emotional distress.

    40.      As a direct and proximate result, the Burrells have to

      exhume, relocate, and re-bury their father.

    41.      As a direct and proximate result, the Burrells have to

      relive the death of their father.


Therefore, Marcia Burrell and Sherita Burrell demand judgment

against Andrews Funeral Home, LLC, Harriette Andrews-Douglas,



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and Andrews Funeral Home for compensatory and punitive damages

in the amount of $5,000,000.00, plus costs.


     COUNT III – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS


                             (TORT OF OUTRAGE)


    42.     The Burrells adopt and incorporate each and every one

      of the above paragraphs as though fully set out herein.

    43.     Andrews’     refusal   to       handle    Edward    Lee    Burrell’s

      remains pursuant to the Burrells’ instructions was extreme

      and outrageous.

    44.     Andrews’ burial of Edward Lee Burrell in Alabama was

      extreme and outrageous.

    45.     The fact that the Burrells have to exhume, relocate,

      and re-bury their father is extreme and outrageous.

    46.     Andrews’ refusal to honor the Burrells’ vested right

      to control the disposition of the remains of their father

      was extreme and outrageous.

    47.     Andrews’    conducting      a   funeral    that    discredited    the

      Burrells’    relationship    with       their   father    and   disgraced,

      humiliated,      and   shunned    the       Burrells    was   extreme   and

      outrageous.

    48.     The   funeral    conducted       by    Andrews    was   extreme   and

      outrageous.



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    49.     Andrews’ handling of Edward Lee Burrell’s remains was

      extreme and outrageous.

    50.     Andrews    intended      to       inflict    mental     anguish     and

      emotional    distress,    or    knew     or   should   have    known    that

      mental anguish and emotional distress were likely to result

      from their conduct.

    51.     As a direct and proximate result, the Burrells have

      suffered and continue to suffer severe mental anguish and

      severe emotional distress.

    52.     As a direct and proximate result, the Burrells have to

      exhume,   relocate,    and     re-bury     their   father     resulting    in

      severe mental anguish and severe emotional distress.

    53.     As a direct and proximate result, the Burrells have to

      relive the death of their father resulting in severe mental

      anguish and severe emotional distress.


Therefore, Marcia Burrell and Sherita Burrell demand judgment

against Andrews Funeral Home, LLC, Harriette Andrews-Douglas,

and Andrews Funeral Home for compensatory and punitive damages

in the amount of $5,000,000.00, plus costs.


Marcia Burrell and Sherita Burrell each demands a trial by jury

as to each and every count.




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    Respectfully submitted this the 13th day of November, 2017.


                                 s/Austin S. Prestwood
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